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V

UNITED STATES DlSTRICT COURT
SOUTHERN DlSTRICT OF FLORIDA

Case No. 04-CV-22829-SEITZ/BANDSTRA

SHANNON LEVY-ROWLEY, j

Plaintil`l`,
v. ~ § §
\ `

WORLDW[DE ASS()ClATION OF SPECIALTY
PROGRAMS, a Utah corporation, and THE CARIBBEAN
CENTER FOR CHANGE, LTD. d/b/a TRANQUILITY BAY,
R & B BILL[NG, LLC, a Utah corporation, JAY KAY,

KEN KAY, ROBERT LICHFIELD, LYNN PRETZFELD,
TEEN HELP, LLC, a Utah limited liability company,
VERIFY USA, [NC., a Florida corporation, PEACOX
ENTERPRISES, LLC, a Utah limited liability

corporation, and ROBERT BROWNING LICHFIELD
FAMILY PARTNERSH[P, a Utah partnership

Del`endants
/

AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

PlaintiFFSHANNON LEVY-ROWLEY sues Defendants WORLDWIDE ASSOCIATION OF
SPECIALTY PROGRAMS and THE CARIBBEAN CENTER FOR CHANGE, LTD. a/k/a
TRANQUILITY BAY7 R & B BILLING, LLC, a Utah corporation, TEEN HELP, LLC, a Utah limited
liability company, VERIFY USA, INC., a F|orida corporation, PEACOX ENTERPRISES, LLC, a
Utah limited liability corporation, ROBERT BROWNING LICHFIELD FAl\/f[LY PARTNERSH]P,
a Utah partnership, JAY KAY, KEN KAY, ROBERT LICHF[ELD, and LYNN PRETZFELD, and
alleges

l . This is an action in excess ofSl 5,000, exclusive of costs, interest, and attorney’s fees

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§.`/

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2. Plaintifi` SHANNON LEVY-ROWLEY [“Leyy"] is a resident of Broward County,
Florida and sui juris

3. Defendant WORLDW[DE ASSOCIATION OF SPECIALTY PROGRAMS
["WWASP”] is a Utah corporation with its principal place of business in St. George,
Utah.

4. Defendant THE CARIBBEAN CENTER FOR CHANGE, LTD [“Tranquility Bay”]
is a Jamaican corporation with its principal place of business in Montego Bay.

5_ Defendant R & B BILLING, LLC [“R & B”] is a resident of St. George, Utah and sui
juris

6. Def`endant TEEN HELP, LLC [“Teen Help”] is a Utah limited liability company with
its principal place of business in St. George, Utah.

7. Defendant VER[FY USA, TNC. [“Verify USA”] is a Florida corporation with its
principal place of business in Miami-Dade County, Florida.

8. Det`endant PEACOX ENTERPRISES, LLC [“Peacox"] is a resident of St_ Geori__§e,
Utah and suijuris.

9, Defendant ROBERT BROWNYNG LICHF[ELD FA]\/f[LY L[M]TED PARTNERSH[P
[RBL Family Partnership"] is a Utah partnership and suijuris.

10, Det`endant JAY KAY [“Jay Kay"] is a resident of St. George, Utah and sui juris

l l_ Def`endant KEN KAY [“Ken Kay”] is a resident of` St. George, Utah and sui juris

12_ Defendant ROBERT LICHF[ELD [“Lichf`ield”] is a resident of St. George, Utah and

sui juris

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13. Defendant LYNN PRETZFELD [“Pretzt'ield”] is a resident of Miami-Dade County,
Florida and sui juris.

14. At all times relevant to this action, Defendants Ken Kay, Jay Kay, Licht'ield, Pretzf`eld,
and Verif`y USA were actual and/or apparent agents of WWASP, Tranquility Bay
and/or Teen Help.

15. At all times relevant to this action, Defendants Ken Kay, Jay Kay, Licht'ield,
Pretzf'leld, and Verit`y USA were authorized to act on behalf`ofWWASP, Tranquility
Bay and/or Teen Help, and did in fact act on behalf of WWASP, Tranquility Bay
and/or Teen Help.

16. At all times relevant to this action, Defendants Ken Kay, Jay Kay, Lichf'ield, and
Pretzt'ield, and Verit`y USA held themselves out as individuals authorized to act on
behalf of WWASP, Tranquility Bay and/or Teen Help.

l7_ This Court hasjurisdiction over this action pursuant to Fla.Stat. § 48. l 93 (a) and §

48. 193 (f) because each of the defendants

a. operates, engages in, and carries on business in Florida;
b. has agents in Florida',
c. has caused injury to persons or property in Florida arising out of acts or

omissions outside Florida while they were engaged in solicitation and/or

service activities in Florida.
l 8_ Venue is properly laid in Miami-Dade County because one or more ofthe Defendants
resides in Miami-Dade County and/or conducts business in Miami-Dade County,

Florida.

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19. All conditions precedent to the filing of this action have occurred, been waived, or
satisfied

20. At all times relevant to this action, up to and including the present, WWASP, directly
and/or through its actual and/or apparent agents, conducted substantial and not isolated
business activity in Florida. Specif'lcally, WWASP, directly and/or through its agents
and/or aH'iliates and subsidiaries

a. engaged in a systematic campaign in Florida to recruit parents of troubled
teenagers to enroll their children in its programs, including the parents ofthe
plaintiPF;

b. conducted extensive marketing and advertising of its programs in Florida
directed at Florida residents, including the parents of`the plaintiff

c. conducted seminars and workshops for parents of troubled teens in Florida,
including the parents ofthe plaintiff, in an attempt to induce them to enroll
their children in its programs;

d. operated interactive internet websites and message boards in Florida and/or
directed at parents and/or children in Florida enrolled in their programs,
including the parents ofthe plaintiFl`;

e. entered into contracts with parents of teenagers in Florida to enroll their
children in its programs, including the parents ofthe plaintiff

f. maintained agents and/or employees in Florida_

21. At all times relevant to this action, up to and including the present, Tranquility Bay,

directly and/or through its actual and/or apparent agents, conducted substantial and not

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isolated business activity in Floridal Specif'icall_v1 Tranquility Bay, directly and/or

through its agents and/or at’filiates and subsidiaries

a. engaged in a systematic campaign in Florida to recruit parents of troubled
teenagers to enroll their children in its programs including the parents ofthe
plaintift`;

b. conducted extensive marketing and advertising of its programs in Florida
directed at Florida residents, including the parents ofthe plaintiff

c. conducted seminars and workshops for parents of troubled teens in Florida,
including the parents of the plaintiff in an attempt to induce them to enroll
their children in its programs

d. operated interactive internet websites and message boards in Florida and/or
directed at parents and/or children in Florida enrolled in their programs
including the parents ofthe plaintit`t`;

e_ entered into contracts with parents of troubled teenagers in Florida to enroll
their children in its programs, including the parents ofthe plaintif`f;

f. maintained agents and/or employees in Florida.

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At all times relevant to this action, up to and including the present, Tranquility Bay,
directly and/or through its actual and/or apparent agents, conducted substantial and not
isolated business activity in Florida. Specit'ically, Tranquility Bay. directly and/or

through its agents and/or aFf'iliates and subsidiaries

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a. engaged in a systematic campaign in Florida to recruit parents of troubled
teenagers to enroll their children in its programs including the parents ofthe
plaintiff;

b. conducted extensive marketing and advertising of its programs in Florida
directed at Florida residents, including the parents of the plaintiff;

c. conducted seminars and workshops for parents of troubled teens in Florida,
including the parents of the plaintiff, in an attempt to induce them to enroll
their children in its programs;

d. operated interactive internet websites and message boards in Florida and/or
directed at parents and/or children in Florida enrolled in their programs,
including the parents ofthe plaintiff;

e. entered into contracts with parents of troubled teenagers in Florida to enroll
their children in its programs, including the parents ofthe plaintiff

f. maintained agents and/or employees in Florida.

23. At all times relevant to this action, up to and including the present, WWASP
purposefully availed itself of Florida by some or all ofthe aforementioned acts

24. At all times relevant to this action, up to and including the present, Tranquility Bay
purposefully availed itself ofFlorida by some or all ofthe aforementioned acts

25. At all times relevant to this action, up to and including the present, Teen Help

purposefully availed itself of Florida by some or all ofthe aforementioned acts

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26. At all times relevant to this action, WWASP owned and/or operated a network of
facilities throughout the country and overseas for minor children lt also operated as
the parent company of Tranquility Bay.

27. At all times relevant to this action, Teen Help marketed and promoted WWASP
facilities, including Tranquility Bay.

28_ At all times relevant to this action, Teen Help and its agents and/or employees induced
parents of teenagers to place their children in WWASP-aHiliated schools, including
Tranquility Bay.

29 At all times relevant to this action, Teen Help and its agents and/or employees
affirmatively recommended WWASP-affiliated schools, including Tranqui lity Bay, to
parents ofteenagers, including the parents ofthe plaintiff

30_ At all times relevant to this action, Teen Help was owned, operated, managed and/or
controlled by WWASP.

31 _ At all times relevant to this action, Ken Kay and Lichfield were owners and/or officers
and directors of WWASP.

32_ At all times relevant to this action, WWASP, Ken Kay, Jay Kay and Lichf'ield,
exercised control over the management and day to day operations ofTranquility Bay,
including, but not limited to, control over personnel and hiring, policies and
procedures, student recruitment and solicitation, and the concerning the care, treatment,

and supervision of students enrolled at Tranquility Bay.

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33_ At all times relevant to this action, WWASP, Ken Kay, Jay Kay and Lichfield
controlled, managed, directed and/or approved of all decisions concerning the
management and operation of Tranquility Bay,

34 At all times relevant to this action, Jay Kay was in charge of all operations at
Tranquility Bay, including the hiring, training, and supervision ofstafi`members. He
also was in charge of establishing and enforcing policies at Tranquility Bay.

35_ At all times relevant to this action, Tranquility Bay was wholly owned, operated,
controlled and/or managed by WWASP, Ken Kay, Jay Kay and Lichfield.

36. At all times relevant to this action, Pretzfield was responsible for the recruitment and
placement ofstudents in South Florida in WWASP-run facilities including Tranqui lity
Bay.

37_ At all times relevant to this action, Pretzfeld served as the South Florida representative
for Teen Help.

38l At all times relevant to this action, Teen Help routinely directed parents in the South
Florida area who called their toll free hotline to Pretzfeld, who they identified as their
South Florida representative

39_ At all times relevant to this action, Pretzfeld held herselfout to parents including those
ofthe plaintiff as a representative of Teen Help and/or WWASP_

40_ Pretzfeld maintained an office in Miami-Dade County with the sign “Teen Help" on
the door_ She also distributed literature in Miami-Dade County and throughout South
Florida on behalfof Teen Help, operated a local website under the name "Teen Help

Southeast” using a toll-free number financed and maintained in whole or in part by

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Teen Help and/or WWASP and its affiliated entities, and conducted Seminars and held
meetings in which she held herself out as a representative of Teen Help and/or
WWASP.

41 _ Pretzfeld received compensation for these services directly and/orthrough Verify USA,
a corporation owned and/or operated by her and her husband

42_ Pretzfield, individually and in concert with Teen Help and Verify USA, caused and/or
facilitated Levy’s placement in Tranquility Bay.

43. At all times relevant to this action, up to and including the present, Tranquility Bay
was the alter ego of WWASP and formed solely for the fraudulent and improper
purposes offacilitating a scheme to defraud the parents who engaged its services and
for shielding it from liability for illegal acts it knowingly engaged it, including, but not
limited to, civil conspiracy, fraud, and child abuse

44_ At all times relevant to this action, up to and including the present1 Defendant R& B
Billing was the alter ego of WWASP and formed solely for the fraudulent and
improper purposes of facilitating a scheme to defraud the parents who engaged its
services and for shielding it from liability for illegal acts it knowingly engaged it,
including, but not limited to, civil conspiracy, fraud, and child abuse

45. At all times relevant to this action, up to and including the present, Defendant Teen
Help was the alter ego ofWWASP and formed solely for the fraudulent and improper
purposes offacilitating a scheme to defraud the parents who engaged its services and
for shielding it from liability for illegal acts it knowingly engaged it, including, but not

limited to, civil conspiracy, fraud, and child abuse

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46. Upon information and belief, WWASP, Ken Kay, Jay Kay and Lichfield have
incorporated and operate numerous other similar corporations for the same fraudulent
and improper purposes, as well as for illicitly funneling profits from these fraudulent
activities out of the United States, including, but not limited to, R & B Billing and
Teen Help.

47. At the time Tranquility Bay was established WWASP, Ken Kay, Jay Kay and
Lichfield knew that they were engaging in the aforementioned unlawful acts and
established Tranquility Bay as part of, and in furtherance of, their conspiracy to
defraud the parents who engaged its services

48_ At all times relevant to this action, Tranquility Bay and WWASP maintained legal
custody over Levy and/or acted in lr)c() parenli.s'.

49. At all times relevant to this action, each of the Defendants advertised and promoted
Tranquility Bay as “a Specialty Boarding School” where, “in addition to academic
curriculum, students receive instruction and direction in behavior modification1
emotional growth, and personal development."

50. Promotional videotapes and literature provided to Levy and other parents featured
pictures of Jamaican beaches and mentioned field trips involving horseback riding,
snorkeling, and other recreational activities They also indicated that students would
receive instruction in music and languages

3 l_ These representations were lies ln fact, Tranquility Bay was nothing more than a
juvenile prison for teenagers operated by a crew ofunskilled, untrained and unlicensed

individuals many of whom had little to no experience working with adolescents

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52. Tranquility Bay had no certified or trained teachers on staff, nor did it have any staff
or employees who were trained and/or certified to handle children with disabilities who
were suicida|, violent, or suffered from severe mental or emotional problems

53_ Tranquility Bay` s “academic program” consisted ofstudents teaching themselves with
textbooks, and being forced to write 5,000 word essays under restrictive time limits
explaining why they deserved to be punished for their behavior

54. Students were prohibited from contacting their parents in many cases for more than

one year, and in some instances, held against their will once they turned 18.

55. On or about December 15, 2000, Levy’s parents enrolled her in Tranquility Bay.

56. Prior to enrolling Levy in Tranquility Bay, Levy’s mother specifically advised the
defendants and/or their agents, including Pretzfield, that Levy had been diagnosed with
bipolar disorder and had been hospitalized twice for severe depressive and suicidal
behavior She also specifically advised the defendants and/or their agents including
Pretzfield, that prior to enrolling in Tranquility Bay that Levy had been enrolled in a
program for severely emotionally troubled children and that she had a history ofviolent
behavior

57_ Notwithstanding receipt ofthis information, Tranquility Bay agreed to enroll Levy in
its program and assured her parents that it was capable of handling their daughter’s
problems Pretzfield also personally assured Levy’s parents ofthis, even though she
knew or should have known it to be false

58. Tranquility Bay, WWASP, and Pretzfield never disclosed to Levy`s parents at the time

they enrolled her in their program that several other schools run by WWASP had been

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investigated for child abuse and child safety violations and/or had been shut down by
the governments in the countries in which they were located

59_ They also failed to disclose to Levy’s parents at the time they enrolled her that their
“parent representatives” and recruiters, including Defendant Prezfield, were working
on a commission basis and were paid $l ,000.00 or more for each child they recruited
to any school operated by WWASP.

60_ Levy became severely depressed upon arriving at Tranquility Bay, and within one
week, attempted to jump offa second story balcony.

61. Tranquility Bay provided Levy with no counseling after this incident, despite her
severe emotional instability and her obvious need for therapy lnstead, it placed her
in a separate wing with other children suffering from a variety of unrelated behavioral
and psychological disorders and forced her to lie flat on her stomach for periods of up
to 12 hours at a time, with intermittent breaks of only five minutes every hour or so.

62_ Levy was forced to remain in this wing, which was known as “Observation
Placement,” for eight consecutive weeks During this time, Levy received no academic
instruction or counseling and was constantly emotionally abused and berated by
Tranquility Bay’s staff She also did not receive her medication on time7 which
caused her to become severely agitated and suffer panic attacks

63_ On or about January, 2001 , while in Observation Placement, Levy grew agitated and
was forcibly restrained by three staff members lnstead of using proper methods to
restrain Levy, the staffmembers pulled her arms behind her back and dropped her on

the ground, causing herjaw to fracture

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64_ Following the incident7 Levy was taken to a local medical facility, where she was given
stitches for herjaw. The doctors told the staff member who accompanied her that she
should come back in one week to have the stitches removed However, Levy was
never taken back to the medical facility and had to wait more than one month to have
the stitches removed at Tranquility Bay. Levy never received x-rays to determine the
nature or extent of the damage to herjaw.

65. Additionally, when the doctor hired by Tranquility Bay to remove the stitches finally
arrived, he did not have the proper tools to remove the stitches and was forced to
remove them with a needle

66. Levy’s parents were never told about the extent of her injuries or how they actually
occurred, and in fact, were lied to when they inquired as to these matters

67_ Shortly after the stitches were removed, Levy’s jaw began to pop when she ate As
time went on, Levy experienced increasing difficulty opening her mouth and eating
Levy repeatedly complained to staffmembers and the doctor who visited Tranquility
Bay about the pain she was experiencing with her jaw, but the staff ignored her
Ultimately, the problem became so severe that she could barely open her mouth to eat.

68. On or about December, 2001 , the problems with Levy`sjaw became so severe that the
director of Tranquility Bay was forced to ca11 Levy’s mother and ask her to take Levy
to a doctor to have her condition evaluated

69 When Levy’s mother arrived at Tranquility Bay, Levy’s jaw had so seriously
deteriorated that she was forced to take her back to Florida to have her examined by

a specialist

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70_ Levy was subsequently diagnosed with tempomandibularjoint disorder ("Tl\/lJ”) and
forced to undergo extensive splint therapy, as well as two surgeries to repair the
damage done to herjaw by Tranquility Bay staff members

71 _ Levy`s physicians have indicated she will require a third surgery, and that the damage
to her jaw may be permanent She continues to experience severe jaw pain and is
restricted to a diet of soft foods and baby food

72_ Numerous other students enrolled in Tranquility Bay and other WWASP facilities
have experienced similar physical and psychological abuse at the hands of untrained
and unqualified staff

COUNT I- NEGLIGENCE
(against Tranquility Bay)

73. Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
l-72.
74_ As Levy`s legal guardian and/or the institution that acted in loco ;)a)'emi.\' for Le\'y,

Tranquility Bay owed a duty to Levy to exercise reasonable care in providing for her
safety and general welfare lt also owed hera duty to hire qualified persons to run and
supervise its programs
75_ Tranquility Bay breached its duty to Levy in some or all ofthe following ways
a_ requiring her to live in unsafe and unsanitary conditions
b. failing to provide her with adequate or proper medical care when it knew or
should have known she required it;

c_ failing to provide her with adequate educational or instructional facilities

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d. failing to properly train staff members in the proper methods of restraining
students
e failing to exercise reasonable care in restraining or handling students it knew

or should have known had a propensity for violent behavior;

f. failing to hire qualified persons to staffits programs

g. retaining unqualified staffmembers when it knew or should have known that
they were unqualified to perform their jobs and posed a safety risk to the
plaintiffand other similarly situated individuals

h_ withholding information from her legal guardians which would have enabled
them to obtain proper medical care for her;

i. failing to provide plaintiff with foods that would lessen the severity ofthe
injury to herjaw;

j. failing to investigate the medical professionals it took plaintiffto for treatment
of injuries she sustained on its premises to insure they were competent or
qualified to treat her;

k. accepting plaintiffin a program which it knew or should have known would
likely pose a danger to her health, safety and welfare;

1l representing to plaintiffand/or her legal guardian that it was qualified to care
for her when it knew or should have known it was not_

76_ As a direct and proximate result of Some or all of the foregoing negligent acts, Levy

has been damaged in excess of$15,000_

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WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deems just and proper Plaintiffreserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT H- VlCARIOUS LIABILITY

(against WWASP)
77_ Plaintif`frealleges and incorporates by reference the allegations contained in paragraphs
1-72.
78 At all times relevant to this action, Tranquility Bay was a subsidiary and/or related

instrumentality of WWASP.

79_ At all times relevant to this action, WWASP exercised control over the management
and operation of Tranquility Bay as more fully described in paragraphs 20-24,
including, but not limited to, control over decisions concerning the care, education, and
treatment of Levy.

80. Tranquility Bay owed a duty to Levy to exercise reasonable care in providing for her
safetyand general welfare lt also owed her a duty to hire qualified persons to run and
supervise its programs

81 . Tranquility Bay breached its duty to Levy as more fully described in paragraph 58.

82. As a direct and proximate result of some or all ofthe foregoing negligent acts Levy
has been damaged in excess of$15,000.

83_ WWASP is vicariously liable for the negligent acts of Tranquility Bay.

WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and

other reliefthis Court deems just and proper Plaintiff reserves the right to amend her complaint to

state a claim for punitive damages upon the making of an appropriate evidentiary proffer

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COUNT llI- VlCARIOUSLY LLABILITY - ALTER EGO
(against WWASP)

84_ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

85_ At all times relevant to this action, Tranquility Bay was the alter ego of WWASP.

86. Tranquility Bay was formed for one or more fraudulent or improper purposes as more
fully described in paragraphs 27-30.

87. At all times relevant to this action, WWASP functioned as the alter ego ofTranqui|ity
Bay. WWASP exercised virtual total control over the operations of Tranquility Bay,
and held itself out to students and the public, including Levy, as being the owner and
operator of Tranquility Bay.

88 At all times relevant to this action7 WWASP and Tranquility Bay disregarded corporate
formalities in their operations including, but not limited to, commingling funds
between the two entities sharing employees materials and facilities

89l Tranquility Bay owed a duty to Levy to exercise reasonable care in providing for her
safety and general welfare It also owed hera duty to hire qualified persons to run and
supervise its programs

90. Tranquility Bay breached its duty to Levy as more fully described in paragraph 58.

91 _ As a direct and proximate result of some or all ofthe foregoing negligent acts Levy
has been damaged in excess of$15,000.

92. WWASP is vicariously liable under the alter ego doctrine for the negligent acts of

Tranquility Bay.

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WHEREFGRE Plaintiff` requests this Court award her compensatory damages interest, and
other reliefthis Court deemsjust and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT IV - NEGLIGENCE
(against Jay Kay)

93 . Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

94_ Kay owed a duty to Levy as the owner and/or operator of Tranquility Bay and as her
legal custodian to exercise reasonable care in providing for her safety and general
welfare He also owed her a duty to hire qualified persons to run and supervise its
programs

95. Kay breached his duty to Levy in some or all of the following ways
a_ requiring her to live in unsafe and unsanitary conditions
b. failing to provide her with adequate or proper medical care when it knew or

should have known she required it;

c. failing to provide her with adequate educational or instructional facilities

d. failing to properly train staff members in the proper methods of restraining
students

e failing to exercise reasonable care in restraining or handling students it knew

or should have known had a propensity for violent behavior;

f. failing to hire qualified persons to staffits programs

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g_ retaining unqualified staff members when it knew or should have known that
they were unqualified to perform their jobs and posed a safety risk to the
plaintif`f`and other similarly situated individuals

h. withholding information from her legal guardians which would have enabled
them to obtain proper medical care for her;

i. failing to provide plaintiff with foods that would lessen the severity of the
injury to herjaw;

j_ failing to investigate the medical professionals it took plaintiffto for treatment
of injuries she sustained on its premises to insure they were competent or
qualified to treat her;

k_ accepting plaintiffin a program which it knew or should have known would
likely pose a danger to her health, safety and welfare;

l. representing to plaintiffand/or her legal guardian that it was qualified to care
for her when it knew or should have known it was not.

96_ As a direct and proximate result of some or all of the foregoing negligent acts Levy
has been damaged in excess of$15,000.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deemsjust and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT V - NEGLIGENCE
(against Lichfield)

97. Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs

1-7.7..

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98_ Lichfield owed a duty to Levy as the owner and/or operator of WWASP to exercise
reasonable care in providing for her safety and general welfare He also owed her a
duty as the individual in charge of personnel and the operations ofTranquility Bay and
WWASP to hire qualified persons to run and supervise its programs and to insure that
she received prompt and adequate medical treatment

99_ Lichfield breached his duty to Levy in some or all ofthe following ways
a. requiring her to live in unsafe and unsanitary conditions
b. failing to provide her with adequate or proper medical care when it knew or

should have known she required it;

c. failing to provide her with adequate educational or instructional facilities

d failing to properly train staff members in the proper methods of restraining
students

e_ failing to exercise reasonable care in restraining or handling students it knew

or should have known had a propensity for violent behavior;

f. failing to hire qualified persons to staffits programs

g. retaining unqualified staff members when it knew or should have known that
they were unqualified to perform their jobs and posed a safety risk to the
plaintif`fand other similarly situated individuals

h. withholding information from her legal guardians which would have enabled
them to obtain proper medical care for her;

i. failing to provide plaintiff with foods that would lessen the severity of the

injury to herjaw;

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j_ failing to investigate the medical professionals it took plaintiffto for treatment
of injuries she sustained on its premises to insure they were competent or
qualified to treat her;

k. accepting plaintiffin a program which it knew or should have known would
likely pose a danger to her health, safety and welfare;

1. representing to plaintiffand/or her legal guardian that it was qualified to care
for her when it knew or should have known it was not.

100l As a direct and proximate result of some or all of the foregoing negligent acts Levy
has been damaged in excess of$15,000.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deems just and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT Vl _ NEGLIGENCE
(Against Ken Kay)

101 _ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

102l Ken Kay owed a duty to Levy as the owner and/or operator of WWASP to exercise
reasonable care in providing for her safety and general welfare He also owed her a
duty as the individual in charge of personnel and the operations ofTranquility Bay and
WWASP to hire qualified persons to run and supervise its programs and to insure that
she received prompt and adequate medical treatment

103. Ken Kay breached his duty to Levy in some or all ofthe following ways

a. requiring her to live in unsafe and unsanitary conditions

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b_ failing to provide her with adequate or proper medical care when it knew or

should have known she required it;

c. failing to provide her with adequate educational or instructional facilities

d failing to properly train staff members in the proper methods of restraining
students

e_ failing to exercise reasonable care in restraining or handling students it knew

or should have known had a propensity for violent behavior;

f_ failing to hire qualified persons to staff its programs

g. retaining unqualified staffmembers when it knew or should have known that
they were unqualified to perform their jobs and posed a safety risk to the
plaintiffand other similarly situated individuals

h. withholding information from her legal guardians which would have enabled
them to obtain proper medical care for her;

i. failing to provide plaintiff with foods that would lessen the severity ofthe
injury to herjaw;

j. failing to investigate the medical professionals it took plaintiffto for treatment
of injuries she sustained on its premises to insure they were competent or
qualified to treat her;

k. accepting plaintiffin a program which it knew or should have known would
likely pose a danger to her health, safety and welfare;

1. representing to plaintiffand/or her legal guardian that it was qualified to care

for her when it knew or should have known it was not

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104. As a direct and proximate result of some or all ofthe foregoing negligent acts Levy
has been damaged in excess of$15,000.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other relief this Court deemsjust and proper Plaintiffreserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT Vll- NEGLIGENCE
(Against Pretzfeld)

105_ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

106. As the individual in charge ofrecruitmentand placement ofstudents in Tranquility Bay
for the South Florida area and the person who facilitated and/or caused Levy to be
placed in Tranquility Bay, Prezfield owed a duty to Levy to exercise reasonable care
in her placement of Levy in Tranquility Bay. Specifically, Prezfield owed Levy a
duty tod
a. insure that Tranquility Bay had adequate and competent staff to meet Levy’s
educational, physical, and medical needs
b. insure that she was placing her in a facility where she would not be physically
abused or harmed;

c. investigate Tranquility Bay to make certain that it was safe and a facility that was
suitable for Levy’s educational, physical, and medical needs

107l Prezfield breached her duty to Levy in some or all ofthe following ways
a. failing to adequately investigate the safety and sanitary conditions of

Tranquility Bay',

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b. failing to ascertain that Tranquility Bay was an appropriate facility for Levy
before recommending that she be placed there;

c. failing to ascertain that Tranquility Bay had adequate educational or
instructional facilities before recommending that she be placed there;

d. failing to ascertain that Tranquility Bay had adequate and properly trained staff
members before recommending that she be placed there;

e. failing to inform Levy’s parents that Tranquility Bay was not a suitable facility
for an individual with Levy’s psychiatric history;

f. failing to advise Levy’s parents ofnumerous other instances ofchild abuse and
neglect that had occurred at Tranquility Bay and other WWASP-affiliated
schools

f_ failing to advise Levy’s parents that numerous other WWASP-affiliated
schools had been investigated by governmental agencies and had been closed
down or cited with health and safety violations

g_ failing to advise Tranquility Bay of Levy’s psychiatric history when she knew
or should have known that Tranquility Bay was not a suitable facility for a
person with Levy’s psychiatric history.

108. As a direct and proximate result of some or all ofthe foregoing negligent acts Levy

has been damaged in excess of$15,000_
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deems just and proper Plaintiffreserves the right to amend her complaint to

state a claim for punitive damages upon the making ofan appropriate evidentiary proffer

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COUNT VIIl - NEGLIGENCE (Assumption of Duty)
(against Pretzfeld)

109_ Plaintiffrealleges and incorporates byreferencethe allegations contained in paragraphs
1-72.

l 10_ Pretzfeld recommended to Levy’s parents that they place her in Tranquility Bay.

l 1 l. Pretzfeld assumed a duty to Levy and her parents in recommending Tranquility Bay
to exercise reasonable care in making her recommendation Specifically, Prezfield
assumed a duty to Levy prior to recommending Tranquility Bay to:

a. determine that Tranquility Bay had adequate and competent staff`to meet Levy’s
educational, physical, and medical needs

b. insure that she was recommending a facility where she would not be physically
abused or harmed;

c. investigate Tranquility Bay to make certain that it was safe and was suitable for
Levy`s educational, physical, and medical needs

d. disclose to Levy hazards which she knew or should have known existed at
Tranquility Bay and which would likely cause Levy harm, including, but not limited
to, poorly trained staff and inadequate medical care;

e. disclose prior incidents ofabuse or neglect which she knew or should have known
about

1 12. Prezfield breached her duty to Levy in some or all ofthe following ways
a. failing to adequately investigate the safety and sanitary conditions of

Tranquility Bay;

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h.

failing to ascertain that Tranquility Bay was an appropriate facility for Levy
before recommending that she be placed there;

failing to ascertain that Tranquility Bay had adequate educational or
instructional facilities before recommending that she be placed there'_

failing to ascertain that Tranquility Bay had adequate and properly trained staff
members before recommending that she be placed there;

failing to inform Levy’s parents that Tranquility Bay was not a suitable facility
for an individual with Levy`s psychiatric history;

failing to advise Tranquility Bay ofLevy`s psychiatric history when she knew
or should have known that Tranquility Bay was not a suitable facility for a
person with Levy’s psychiatric history;

failing to inform Levy’s parents of prior incidents of child abuse or neglect

which she knew or should have known about

1 13_ As a direct and proximate result of some or all ofthe foregoing negligent acts Levy

has been damaged in excess of$15,000.

WHEREFORE Plaintiffrequests this Court award her compensatory damages interest,

and other relief this Court deemsjust and proper Plaintiff reserves the right to amend her

complaint to state a claim for punitive damages upon the making ofan appropriate evidentiary

proffer

COUNT lX -VlCARIOUSLY LlABILITY - ALTER EGO

(Against R & B Billing)

1 14. Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs

l-72.

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1 15_ At all times relevant to this action, R & B Billing was the alter ego ofWWASP and/or
Tranquility Bay.

1 16_ R & B Billing was formed by Ken Kay, Lichfie|d, and/or other WWASP principals for
one or more fraudulent or improper purposes as more fully described in paragraphs 27-
30.

1 17, ln particular, R & B Billing was established for the sole purpose of funneling monies
which were intended for the use and benefit of children at Tranquility Bay and other
WWASP related facilities to Ken Kay, Lichfield, and other WWASP principals and/or
principals of WWASP related entities

1 18_ At all times relevant to this action, R & B Billing and its agents knowingly diverted
funds which were intended for the use and benefit of children at Tranquility Bay and
other WWASP related facilities to Ken Kay, Lichfield, and other WWASP principals
and/or principals of WWASP related entities

1 19_ The diversion ofthese funds deprived children at Tranquility Bay, including Levy, of
basic necessities such as soap, towels and minimally nutritious food lt also
contributed to the lack of basic medical care, which caused injury to Levy and other
children at Tranquility Bay.

120_ The diversion ofthese funds was authorized and approved by Ken Kay, Lichfield, and
other WWASP principals and/or principals of WWASP related entities

121. At all times relevant to this action, R & B Billing functioned as the alter ego of

WWASP and/or Tranquility Bay.

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122. At all times relevant to this action, R & B Billing disregarded corporate formalities in
its operations including, but not limited to, commingling funds between WWASP,
Tranquility Bay, and other WWASP related entities sharing employees materials and
facilities
123. Tranquility Bay owed a duty to Levy to exercise reasonable care in providing for her
safety and general welfare lt also owed her a duty to hire qualified persons to run and
supervise its programs
124. Tranquility Bay breached its duty to Levy as more fully described in paragraph 58.
125. As a direct and proximate result of some or all ofthe foregoing negligent acts Levy
has been damaged in excess of$15,000.
126_ R & B Billing is vicariously liable under the alter ego doctrine for the negligent acts
of Tranquility Bay.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deemsjust and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT X - VlCARIOUS LlABlLITY
(Against Verify USA)

127. Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

128_ At all times relevant to this action, Pretzfeld acted as an agent of Verify USA.

129. Pretzfeld negligently caused Levy to be placed in Tranquility Bay and/or negligently
recommended Tranquility Bay to Levy’s parents while acting within the course and

scope of her agency with Verify USA.

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130_ Pretzfeld breached her duty to Levy as more fully described in paragraphs 103-l 1 1.
131_ As a direct and proximate result ofPretzfeld’s negligence Levy has suffered damages
in excess of$15,000_
132. Verify USA is vicariously liable for the acts and omissions of Pretzfeld committed
within the scope of her agency with Verify USA.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deemsjust and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

COUNT Xl - FALSE lMPRlSONMENT
(against Pretzl`eld)

13 3_ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72_

134. On or about December 15, 2000, Pretzfeld unlawfully restrained Levy in her home
while transporting her to Tranquility Bay.

13 5. During this time, Levy was handcuffed to furniture in Pretzfeld’s home and was denied
permission to leave

136 Pretzfeld unlawfully detained Levy and deprived her ofher liberty and/or assisted her
husband in detaining Levy and depriving her of her liberty

137. As a direct and proximate result ofPretzfeld’s negligence Levy has suffered damages
in excess of $1 5,000.

WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and

other reliefthis Court deems just and proper Plaintiff reserves the right to amend her complaint to

state a claim for punitive damages upon the making ofan appropriate evidentiary proffer

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COUNT XH - FALSE IMPRISONMENT
(against Verify USA)

1 3 8. Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

139_ At all times relevant to this action, Pretzfeld and her husband, Jeff, were agents of
Verify USA.

140. On or about December 15, 2000, Pretzfeld unlawfully restrained Levy in her home
while transporting her to Tranquility Bay.

141 . During this time, Levy was handcuffed to furniture in Pretzfeld’s home and was denied
permission to leave

142_ Pretzfeld unlawfully detained Levy and deprived her ofher liberty and/or assisted her
husband in detaining Levy and depriving her of her liberty.

143. At the time Pretzfeld and her husband unlawfully restrained Levy, they Were acting
within the course and scope oftheir agency with Verify USA.

144. As a direct and proximate result ofPretzfeld’s negligence, Levy has suffered damages
in excess of$15,000_

145. Verify USA is vicariously liable for the acts and omissions of Pretzfeld committed
within the scope of her agency with Verify USA.

WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and

other relief this Court deems just and proper Plaintiff reserves the right to amend her complaint

to state a claim for punitive damages upon the making of an appropriate evidentiary proffer

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COUNT XIII - NEGLIGENCE
(against Peacox and RBL Family Pal‘tnership)

146_ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72.

147 Upon information and belief, Peacox and RBL Family Partnership own individually
and or collectively the premises on which Tranquility Bay is located in Jamaica.

148. As the landowners of the premises on which Tranquility Bay is located, Peacox and
RBL Family Partnership owed a duty to Levy to exercise reasonable care in
maintaining its premises in reasonably safe condition and to warn Levy of unknown
hazards

149_ At the time Levy entered Tranquility Bay against her will, she did not know and could
not with the exercise of reasonable care have discovered that the staff and/or owners
of Tranquility Bay routinely abused or mistreated children in their custody and
deprived them of adequate food and hygiene

150. Peacox and RBL Family Partnership breached its duty to Levy in some or all ofthe
following ways
a. failing to adequately maintain the physical premises on which Tranquility Bay
was operated in a manner so that she and other students would not suffer physical
harm;
b. failing to warn her of prior incidents ofchild abuse or neglect that had occurred

on their property which they knew or should have known about;

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c. failing to warn her the staffand/or owners ofTranquility Bay routinely abused or
mistreated children in their custody and deprived them ofadequate food and hygiene
151 . As a direct and proximate result ofPeacox and RBL Family Partnership`s negligence,
Levy has suffered damages in excess of$15_,000.
WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deemsjust and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making ofan appropriate evidentiary proffer

COUNT XIV - VlCARIOUS LlABILTY-ALTER EGO
(against Peacox and RBL Family Partnei°ship)

1 52_ Plaintiffrealleges and incorporates by reference the allegations contained in paragraphs
1-72_

153. Defendants Peacox and RBL Family Partnership are alter egos of WWASP and/or
Tranquility Bay and formed solely for the fraudulent and improper purposes of
facilitating a scheme to defraud the parents who engaged its services and for shielding
it from liability for illegal acts it knowingly engaged it, including, but not limited to,
civil conspiracy, fraud, and child abuse

154. Peacox and RBL Family Partnership were formed by Ken Kay, Lichfield, and/or other
WWASP and/or Tranquility Bay principals for one or more fraudulent or improper
purposes as more fully described in paragraphs 27-30,

155. ln particular, Peacox and RBL Family Partnership were established for the sole

purpose of funneling monies which were intended for the use and benefit of children

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at Tranquility Bay and other WWASP related facilities to Ken Kay, Lichfield, and
other WWASP principals and/or principals of WWASP related entities

156. At all times relevant to this action, Peacox and RBL Family Partnership and its agents
knowingly diverted funds which were intended for the use and benefit of children at
Tranquility Bay and other WWASP related facilities to Ken Kay, Lichfield, and other
WWASP principals and/or principals of WWASP related entities.contributed to the
lack of basic medical care, which caused injury to hevy and other children at
Tranquility Bay.

157. The diversion ofthese funds was authorized and approved by Ken Kay, Lichfield, and
other WWASP principals and/or principals of WWASP related entities

l 58. At all times relevant to this action, Peacox and RBL Family Partnership functioned as
the alter egos of WWASP and/or Tranquility Bay.

159. At all times relevant to this action, Peacox and RBL Family Partnership disregarded
corporate formalities in its operations including, but not limited to, commingling
funds between WWASP, Tranquility Bay, and other WWASP related entities sharing
employees materials and facilities

160_ Tranquility Bay owed a duty to Levy to exercise reasonable care in providing for her
safety and general welfare lt also owed her a duty to hire qualified persons to run
and supervise its programs

161. Tranquility Bay breached its duty to Levy as more fully described in paragraph 58_

162 As a direct and proximate result of some or all ofthe foregoing negligent acts Levy

has been damaged in excess of$15,000.

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163_ R & B Billing is vicariously liable under the alter ego doctrine for the negligent acts

of Tranquility Bay.

WHEREFORE Plaintiff requests this Court award her compensatory damages interest, and
other reliefthis Court deems just and proper Plaintiff reserves the right to amend her complaint to
state a claim for punitive damages upon the making of an appropriate evidentiary proffer

DEMAND FOR TRlAL BY JURY
Plaintiff demands trial byjury on all issues and all counts ofthis Complaint so triable
Respectfully submitted,
LAW OFFICE OF

DAVID H. POLLACK, LLC
540 Brickell K Drive, Suite C-l

 
      

DAvIl) H. PoLLACi<
Florida Bar No. 0955840

CERTIFICATE OF SERVICE
l HEREBY CERTIFY that a true and correct copy ofthe foregoing was mailed and faxed this
lj§ day of December, 2004 to: Alan Kipnis, Esq., Adorno & Yoss P.A., 350 E. Last Olas Blvd.,

~ Esq., Eighth Floor, Courthouse

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